      Case 1:17-cv-21519-CMA Document
                                  G   1-2 Entered on FLSD Docket 04/24/2017 Page 1 of 3

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                  $)                 U.S.EQUAL EMPLOYMENT O PPORTUNITY COMMISSION
                                 NoTIcE OF RIGHT TO SUE (ISSUED ON REQUEST)
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To: Linnea R.Edorsson                                                               From : M iam iDistrictOffice
     305 West52nd Stre4t#6c                                                                       MiamiTower,100 S E 2nd Street
     New York,NY 10019                                                                            Suite 1500
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             CONFIDENTIAL(29CFR 51601.7(a))
EEOC Charge No.                                 EEOC Representati
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                                                ROEL J.RITFELD,
520-2015-0279:                                  FederalInvestigator                                                                 (305)808-1812
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ROTICETûTHEPERSONAGGRIEVED:
TitleVI1ofthe CivilRightsActof1964,the Americanswi th DisabilitiesAct(ADA),orthe Geneticlnformation Nondiscrimination
Act(GINA):ThisisyourNoticeofRightto Sue,issued underTitleVII,theADA orGINA basedontheabove-numberedcharge.Ithas
been issuedatyourrequest.YourIawsui
                                  tunderTitleVII,theADA orGINA m ustbefiled in afederalorstatecourtW ITHIN 90 DAYS
ofyourreceiptofthis notice'
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                                  ghtto sue basedonthischargewillbeIost. (Thetime Iimitforfiling suitbasedona claim under
stateIaw maybedi
               fferent.)
      X       Morethan 180 dayshavepassed since the tilingofthischarge.
              Less than 180 days have passed since the filing ofthischarge,butlhave determined thatitis unlikely thatthe E6OC will
              be able to com plete its administrative processing wi
                                                                  thin 180 days from the filing ofthis charge.
    lX '
       1 TheEeocisterminatingi
                             tsprocessingofthischarge.
              The EEOC willcontinuetoprocessthischarge.
AgeDlscriminationinEmploymentAct(ADEA):YoumaysueundertheADEAatanytimefrom 60daysafterthechargewasfileduntil
90daysafteryou receivenoticethatwehave com pletedaction onthecharge.lnthisregard,the paragraph m arked below appliesto
yourcase:
            The EEOC isclosingyourcase.Therefore,yourIawsuitundertheADEA m ustbefiled in federalorstate courtW ITHIN
            90DAYS ofyourreceiptofthis Notice,Otherwise,yotlrrightto sue basedonthe above-numberedcharge willbe l  ost.

              The EEUC iscontinuing i
                                    tshandtingofyourADEA case.llowever.if60 dayshave passedsince the fili
                                                                                                        ng ofthecharge,
              youmayfle suitinfederalorstatecouftundertheADEA atthistime.
EqualPayAct(EPA): You alreadyhavetherighttosue undertheEPA (filing an EEOC chargeisnotrequired.) EPA suitsmustbe brought
infederalorstatecourtwithin 2years(3yearsforwill
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                                                   olations)oftheall
                                                                   egedEPA underpayment.Thismeansthatbackpayduefor
anyviolations thatoccurred more than 2 vears(3 vears)beforeyou5le suitmay notbecollectible.

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                                                               Distrid Director

            BEEFREE LLC.
            C/O Bradley F.Zappala,Esq.
            ROBERT L.SWITKE & ASSOCIATES,P.A.
            PenthouseSouth
            407 Lincoln Road
            M iam iBeach,FL 33139
           Case 1:17-cv-21519-CMA Document 1-2 Entered on FLSD Docket 04/24/2017 Page 2 of 3
EEOCForm 5(11/X)
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 Linnea R.Edorsson                                                                                          (407)690-6905                       11-06-87
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102 Forsyth St#7,New York,NY 10002

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BEEFREE LLC.                                                                                                 15 -100                 (305)330-9450
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2312 N M iam lAve-, M iam i,FL 33137
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  January 2015.
  llnctw ith Respondentto presenta forty pagcbtlsincssproposalforitsstart-tlp.Iwasfbrmally hired by Respondcnton
  orarotlnd October2013.lwol-ked remotely October2014 tlntiim y termination,whiohw ason oraround Jantlaly 2015.
  On oraround Decelnbel-20l4,1infonned RespondentthatIwas'     pregtlant.Soon after,onoraround theend of
  December2014,IwasinfbrmedviatelephoncthatIwasbcingtcrminatedfrom my positionasanAccotlntBxecutive
   becauseofQtbudgetat
                     y reasons''.Iwasofflciallytenninatedfrom 1nyemploylnentonoraroundJanual'
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  couldcollectunclnploymentbenefits.Respondtntcontcsted my tlnelnploymtntclaim becauseIhad officially m oved to
  New York from Florida.Sincebeing terlninated froln Respondtnt'scompany,Rtspondenthasbeen using lny identity
  and lny personaldebitaccotltltforitsbtlsinessgain.Illave bcen leftwith no Incmey orresotlrccsto slll-vivv.
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